Case 1:17-cv-02041-RJL Document 158-7 Filed 07/08/21 Page 1 of 11




                 Exhibit D
            Case 1:17-cv-02041-RJL Document 158-7 Filed 07/08/21 Page 2 of 11




THOMAS A. CLARE, P.C.                                                                JOSEPH R. OLIVERI
  tom@clarelocke.com                                                                  joe@clarelocke.com
    (202) 628-7401                                                                      (202) 628-7405
                                             10 Prince Street
                                        Alexandria, Virginia 22314
                                               (202) 628-7400
                                            www.clarelocke.com


                                               May 12, 2021

    Via Electronic Mail

    Joshua A. Levy
    Levy Firestone Muse LLP
    1701 K Street, NW, Ste 350
    Washington, D.C. 20006
    jal@levyfirestone.com

                   Re:     Fridman v. Bean LLC, 17-cv-2041 (JRL) – Your May 5, 2021 Letter

    Dear Josh:
            We write in response to your May 5, 2021 letter regarding Plaintiffs’ April 29, 2021
    production, which Plaintiffs made in compliance with the Court’s March 30 Orders on various
    discovery motions. In your letter, you claim that Plaintiffs’ production was insufficient or improper
    for various reasons, but as explained below, none of your claims has merit. We address each of your
    asserted deficiencies in turn.
    I.      Plaintiffs’ Confidentiality Designations Are Entirely Proper.
            You begin your letter not by challenging the substance of Plaintiffs’ production, but rather
    by questioning Plaintiffs’ designation of the documents they produced under the Protective Order
    in this case. According to your letter, Plaintiffs used “blanket” “Highly Confidential” designations
    that “do not appear justified.” You are incorrect.
           As an initial matter, Plaintiffs did not simply apply “blanket” confidentiality designations to
    the documents in their April 29 production; rather, counsel applied confidentiality designations to
    each document as appropriate. And Plaintiffs’ confidentiality designations are entirely appropriate.
             First, Plaintiffs properly and appropriately designated the documents in their April 29
    production as “Highly Confidential – Personal Data” because each document in that production
    was obtained and produced through a cross-border transfer to the United States from a country with
    a strict data protection regime—the United Kingdom, Spain, or Russia—and is subject to restrictions
    on transfer and dissemination imposed by data protection laws.
         Case 1:17-cv-02041-RJL Document 158-7 Filed 07/08/21 Page 3 of 11




       As you know, the United Kingdom, Spain, and Russia have strict and comprehensive legal
regimes governing the transfer of data.
        The European Union General Data Protection Regulation (“GDPR”)1 provides protections
for personal data, which is defined as “any information relating to a data subject,” and governs cross
border transfers of personal data outside of the European Economic Area. 2 It protects a
fundamental right to privacy, or data protection, of a data subject. Any controller or processor of
data that includes personal data of a data subject must adhere to requirements under the GDPR for
the processing and transfer of data. Key requirements under the GDPR include, for example, “data
minimization.” This requires that data processed should be “adequate, relevant and limited to what is
necessary for the purposes for which they are processed.”3 The GDPR is also purpose-driven and, as such,
any data that is not strictly necessary for the relevant purpose should not be processed. Further, the
GDPR applies irrespective of whether data is public—i.e., even if information is “publicly available,”
that public availability is not a “defense” against compliance with GDPR by controllers and
processors. Regulatory guidance from the U.K. Information Commissioner’s Office (the relevant
supervisory authority in the United Kingdom) explains that, among other things, in the context of
special category data, whether data is theoretically in the public domain (including before a court) is
not the pertinent question: “information is not necessarily public just because you have access to it.”4
        The GDPR continues to apply in the United Kingdom following its exit from the European
Union by way of the United Kingdom Data Protection Act of 2018 (“UK DPA”), Data Protection,
Privacy and Electronic Communications Act (“UK DPPEC”), and associated regulations,5 which are
together known as the “UK GDPR.”
        Similarly, Russian Federation Federal Law of 27 July 2006 No. 152-FZ on Personal Data6
provides protection for personal data, or a set of information that allows a person’s identity to be
established. Moreover, the law has been recently amended to place further restrictions on the
making of personal data available online to an “indefinite number of persons,” which would include
the inclusion of documents containing personal data on a public court docket.7 And like the UK
GDPR, the fact that information is publicly available does not exempt that information from
protection if it would be used for a purpose other than the one for which it was made public.
       In order to comply with these comprehensive data protection regimes, LetterOne and the
Alfa companies obtained consents from the custodians of the documents collected and ultimately
produced by Plaintiffs, including from Plaintiffs’ assistants, counsel for LetterOne and the Alfa

1
  Regulation (EU) 2016/679 on the protection of natural persons with regard to the processing of personal data and on
the free movement of such data, and repealing Directive 95/46/EC (“GDPR” or “EU Data Protection Directive”).
2
  See id. Article 4(1); Article 45; Article 46.
3
  See id. Article 5.
4
   See Independent Commissioner’s Office, What Are the Conditions for Processing?, https://ico.org.uk/for-
organisations/guide-to-data-protection/guide-to-the-general-data-protection-regulation-gdpr/special-category-data/what-
are-the-conditions-for-processing (last visited May 12, 2021).
5
  See U.K. Data Protection Act (2018) (“UK DPA”); U.K. Data Protection, Privacy and Electronic Communications
(Amendments etc.) (EU Exit) Regulations (2020) (“UK DPPEC”).
6
  Russian Federation Federal Law of 27 July 2006 No. 152-FZ on Personal Data.
7
  See id. Article 10.1.



                                                           2
         Case 1:17-cv-02041-RJL Document 158-7 Filed 07/08/21 Page 4 of 11




group of companies, and Plaintiffs’ U.K. counsel, and implemented certain very-limited redactions
of sensitive personally identifiable information (as required by the applicable data protection laws).
Plaintiffs designated such documents “Highly Confidential – Personal Data” under the terms of the
Protective Order in this case to comply with data protection laws and also to ensure that Defendants
were provided with the information in a meaningful manner for review purposes. Such designation
(in lieu of extensive redaction of personally identifiable information) is entirely consistent with (and
required by) the applicable data protection regimes, which do not allow personal data to be disclosed
more broadly than is absolute necessary. In short, Plaintiffs’ confidentiality designations in their
April 29 production enabled them to produce more documents and more information to Defendants
(and in unredacted form), and there is nothing improper about that.
         Second, Plaintiffs properly designated three limited categories of documents as “Highly
Confidential – AEO” under the Protective Order in this case: (1) “documents received by, produced
by, or served upon Plaintiffs” in connection with the Special Counsel Office (“SCO” or “Mueller”)
investigation (“SCO Documents”); (2) the Spanish litigation case file; and (3) the Kroll Report. The
SCO documents are subject to strict grand jury secrecy requirements under Federal Rule of Criminal
Procedure 6(e), and they are properly designated as “Highly Confidential – AEO.” See, e.g., Dunham
v. City of New York, No. 11-cv-122, 2021 WL 918373, at *1 n.1 (S.D.N.Y. Mar. 10, 2021) (collecting
cases requiring sealing/confidentiality of grand jury related documents); Martin v. Naval Crim.
Investigative Serv., No. 10-cv-1879, 2012 WL 6553408, at *3 (S.D. Cal. Dec. 14, 2012) (“[Grand jury]
materials can be designated as confidential under the existing protective order.”), objections overruled,
2013 WL 2896879 (S.D. Cal. June 11, 2013). The Spanish litigation casefile is likewise confidential
and subject to the GDPR’s restrictions on sharing criminal offense data,8 and it is thus properly
designated. Further, under Spanish procedural law, only parties and interested entities have a right
to obtain the complete case file, without regard to whether items have been declared secret or
reserved. 9 And the Kroll Report contains protected and sensitive information, including
information regarding banking operations and potential criminal exposures, which is protected from
disclosure under the GDPR, the Russian Federation Federal Law of 27 July 2006 No. 152-FZ on
Personal Data, and Article 26 of the Russian Federation Federal Law of 2 December 1990 No. 395-1
on Banks and Banking Activities.
        In sum, the materials in Plaintiffs’ April 29 production are the precise types of materials that
are protected by the Protective Order in this case, which provides that a producing party “may
designate Discovery Material as ‘Highly Confidential—Personal Data” pursuant to this order if the
Discovery Material contains personal data and is subject to restriction under applicable data
protection or privacy laws and regulations.”10
        We trust that the above explanations—especially together with citations of the applicable
“law[s] [and] regulation[s]” pursuant to which Plaintiffs made their confidentiality designations—
resolve your concerns on this issue. To the extent you have questions about the confidentiality
designations of specific documents in Plaintiffs’ April 29 production, please let us know, and we

8
  See GDPR Article 10,
9
  See, e.g., Organic Law of the Spanish Judiciary Act (“Ley Orgánica del Poder Judicial” (“LOPJ”)), Articles 234-235.
10
   Protective Order § 2.C.



                                                            3
        Case 1:17-cv-02041-RJL Document 158-7 Filed 07/08/21 Page 5 of 11




would be happy to discuss those specific documents with you in good faith in accordance with the
procedures set forth in the Protective Order. Your blanket assertion that “all” of Plaintiffs’
confidentiality designations are improper and your blanket demand that Plaintiffs provide written
justifications for every single confidentiality designation in their production does not comport with
those procedures. As such, a meet and confer regarding Plaintiffs’ confidentiality designations is
premature at this time. We reiterate, though, our willingness to promptly meet and confer regarding
the designation of any particular documents under the Protective Order in this case.
                                                      * * *
         A final point about your (and Defendants’) unsupported rush to challenge Plaintiffs’
designation of documents under the Protective Order in this case warrants mention here. While we
will not level allegations of bad faith (as you have frequently done in this case), we find it curious
that, less than a week after Plaintiffs provided their April 29 production, you rushed to challenge
Plaintiffs’ designation of documents under the Protective Order—and that you have done so while
ignoring numerous questions about Defendants’ own discovery responses that we have previously
asked you.11
         Your immediate focus on the designation of discovery materials under the Protective Order
is especially curious—and raises potential cause for concern—in light of Defendants’ previous public
statements that they “relish” “using [] defamation suit[s] to pry [] information out of” litigation
opponents, which Defendants then use, including “in political campaigns ... to expose an opponent’s
vulnerabilities, provide source material for the media, and feed attack ads.”12 Indeed, Defendants
have publicly boasted that they have previously sought out funding “to back a full discovery campaign
against” a party who sued them for defamation in order to leverage that discovery outside of
litigation.13 We hope and trust that is not your or Defendants’ intention here.
II.     Plaintiffs’ Have Not Improperly Withheld Documents; Your Accusations That Plaintiffs
        Made “Misrepresentations” to the Court Are Baseless; and Your Sanctions Threat Is
        Unwarranted.
       You next assert in your May 5 letter that Plaintiffs acted improperly by not producing the
documents they produced in their April 29 production (in accordance with the Court’s orders)
sooner, before the Court ruled on Defendants’ motions to compel. And you further assert that
Defendants are entitled to sanctions as a result. You are incorrect.
      As you know, Plaintiffs and Defendants have disagreed about the discoverability of various
documents in this case. And, as happens when parties disagree about the discoverability of
documents and are unable to resolve their disagreement on their own, the parties have filed various
motions to compel. (Plaintiffs have won some motions and Defendants have won some motions.)

11
   You have also failed to respond to our questions regarding the improper attempt to communicate with Plaintiff
German Khan, which we raised in both an April 16 letter and April 28 email. We again reiterate our request that you
confirm that Defendants will cease attempting to communicate with Plaintiffs outside of the proper channel and again
ask that you respond to the other issues we raised in our prior communications to you.
12
   Glenn Simpson & Peter Fritsch, Crime in Progress 31, 239, 241 (2019).
13
   Id. at 239.



                                                          4
         Case 1:17-cv-02041-RJL Document 158-7 Filed 07/08/21 Page 6 of 11




Plaintiffs long ago produced documents sought by Defendants in discovery, with the exception of
documents that Plaintiffs contended were not discoverable (just as Defendants have refused to
produce documents they contend are not discoverable)—and Defendants moved to compel the
production of those documents. When the Court granted two of Defendants’ motions to compel
and ordered Plaintiffs to produce various documents by a certain date, Plaintiffs fully complied with
the Court’s Orders and produced those documents by that date. Of course, the mere fact that the
Court granted two of Defendants’ motions to compel does not mean that Plaintiffs lacked a good-
faith basis for objecting to the discovery at issue in those motions—and contrary to your claim, the
Court certainly did not find that Plaintiffs lacked a good-faith basis for doing so. And, of course,
the mere fact that a party prevails on a motion to compel does not entitle that party to an award of
sanctions against the other party.
       Moreover, contrary to the assertions in your letter, Plaintiffs have not made
“misrepresentations” to the Court (or anyone) regarding discovery (or anything else).
         First, Plaintiffs were entirely truthful when they stated that they did not have control over
documents in the possession of LetterOne and the Alfa companies and lacked the ability to compel
their production in this litigation. As you well know, long before Defendants moved to compel the
production of documents in the possession of LetterOne and the Alfa companies, Plaintiffs’ counsel
repeatedly offered to connect you with counsel for those companies, who indicated a willingness to
accept service of a document subpoena. 14 But you repeatedly declined to engage with them. 15
Plaintiffs made that offer because the documents Defendants were seeking were in the possession of
LetterOne and the Alfa companies. Plaintiffs (as indirect shareholders of those companies) lacked
the authority to compel the companies to turn those documents over to them, and the companies
refused Plaintiffs’ requests to do so voluntarily. Although the companies granted Plaintiffs
permission to produce some documents in the U.K. Aven v. Orbis litigation matter (documents that
Plaintiffs did not subsequently possess in their own files because their use was restricted by the
companies), they denied Plaintiffs permission to obtain and produce documents in this case in light
of the different applicable data protection legal regimes and differences in the scope of the two
litigations. (For example, documents in the possession of LetterOne and the Alfa companies could
be produced in the U.K. Aven v. Orbis litigation without needing to effectuate a cross-border transfer
of materials to a jurisdiction without a data protection regime.)
        Ultimately, LetterOne and the Alfa companies agreed to make documents in their possession
available to Plaintiffs after the Court entered the March 30 Orders, thereby enabling Plaintiffs to
obtain and produce them in this case. While we cannot speak to the thought processes of LetterOne
and the Alfa companies, we suspect that they appreciated the impact of a binding court order and
the fact that Plaintiffs could be sanctioned by the Court if the companies did not allow them to
obtain and produce certain documents in this case—and presumably those sanctions could have had
negative consequences for the companies. Moreover, as you surely know, the entry of a binding
court order is a relevant factor in determining whether documents can be disclosed under the GDPR

14
   See, e.g., Letter from A. Lewis to J. Levy (Mar. 12, 2020); Email from A. Lewis to J. Levy (Apr. 2, 2020); Letter from
A. Lewis to J. Levy (Apr. 24, 2020).
15
   See, e.g., Letter from J. Levy to A. Lewis (Apr. 16, 2020); Letter from J. Levy to A. Lewis (Apr. 29, 2020).



                                                            5
       Case 1:17-cv-02041-RJL Document 158-7 Filed 07/08/21 Page 7 of 11




and other data protection regimes. Simply stated, Plaintiffs have been entirely consistent in their
representations, and those representations have been truthful.
        Second, you assert in your letter that Plaintiffs’ inclusion of pre-2016 documents in their
April 29 production makes their previous statement that they had “produced all relevant pre-2016
documents” a misrepresentation. Not so. Plaintiffs were entirely truthful when they previously
stated that they had “produced all relevant pre-2016 documents.” The only pre-2016 documents
that Plaintiffs produced on April 29 that were in their possession were the Kroll Report and
documents in the Spanish investigation case file, which Plaintiffs consistently and in good-faith
maintained were neither relevant nor discoverable, and select Aven v. Orbis documents, which
Plaintiffs consistently maintained were outside the scope of production due to the parties’ agreement
not to produce publicly available documents. The fact that, ultimately, the Court disagreed with
Plaintiffs and granted Defendants’ motion to compel those documents’ production does not render
Plaintiffs’ position improper or transform their statements into misrepresentations. The only other
pre-2016 documents in Plaintiffs’ April 29 production were documents in the possession of
LetterOne or the Alfa group companies to which those companies only allowed Plaintiffs access after
the Court entered its March 30 Orders, as explained above.
        Third, you assert that Plaintiffs falsely stated that documents related to the SCO (Mueller)
Investigation were protected by the grand jury privilege. That was Plaintiffs’ position, and Plaintiffs
argued exactly that—with citations to federal caselaw and rules—in opposing Defendants’ motion to
compel their production. The fact that the Court ultimately disagreed with Plaintiffs’ position that
this rendered them outside the scope of production does not render it a “misrepresentation.” Your
citation to a “Project A” email that was produced in the Aven v. Orbis case (PDDC-JLO-0001249)
does not suggest otherwise. That document was responsive to issues in the Aven v. Orbis case but it
was not produced in response to a request for SCO documents and it was not produced in the form
in which it was disclosed to the SCO. As such, the document produced in that case was not subject
to the grand jury secrecy restrictions of Federal Rule of Criminal Procedure 6(e). Moreover, that
underlying document was in the possession of the Alfa companies—not Plaintiffs—until after the
Court entered its March 30 Orders.
       In sum, Plaintiffs have fully complied with their discovery obligations and the Court’s
March 30 Orders; Plaintiffs have not made any misrepresentations to the Court, Defendants, or
anyone else; and Defendants have no basis for any sanctions against Plaintiffs.
III.   Plaintiffs Privilege Log Is Forthcoming; Plaintiffs Have Not Waived Any Privilege Claims.
        Your assertion in your May 5 letter—notably unaccompanied by any citation to supporting
authority—that Plaintiffs have waived any claims of privilege over documents responsive to the
Court’s March 30 Orders that they are withholding as privileged is meritless. As you may imagine,
the volume of work (and attorney-hours) required to obtain, process, review, and produce over
20,000 pages of documents from across the globe while navigating cross-border transfers of materials
subject to complex national and international data protection regimes in the thirty days following
the Court’s entry of its March 30 Orders was immense, to say the least. And Plaintiffs and their




                                                   6
         Case 1:17-cv-02041-RJL Document 158-7 Filed 07/08/21 Page 8 of 11




counsel devoted all available resources to do that and to comply with the Court’s Order—which did
not require the contemporaneous production of a privilege log.
        That said, Plaintiffs’ counsel are actively preparing a detailed privilege log of documents
responsive to the Court’s March 30 Orders that they are withholding on the ground of privilege,
and Plaintiffs intend to produce that privilege log on or about May 20, barring any unexpected
delays. Unlike Defendants’ three iterations of their privilege log—which simply repeated the same
hypergeneric, boilerplate “privilege description” that merely parroted the elements of a privilege
claim for almost every document listed, notwithstanding the Court’s order to provide “detailed
information” regarding all documents Defendants are withholding as privileged 16 —Plaintiffs’
privilege log will contain more than sufficient information to enable Defendants (and the Court) to
meaningfully assess Plaintiffs’ privilege claims.
         Defendants have no basis to assert that Plaintiffs have waived any claim of privilege. See, e.g.,
Centennial Bank v. Servisfirst Bank Inc., No. 16-cv-88, 2016 WL 3574587, at *5 (M.D. Fla. July 1, 2016)
(rejecting the argument that a party waived privilege claims because it produced its privilege log
“shortly after providing responsive documents” rather than “simultaneously” therewith); Almont
Ambulatory Surgery Ctr. LLC v. UnitedHealth Grp., Inc., No. 14-cv-3053, 2018 WL 5816111, at *2 (C.D.
Cal. May 22, 2018) (no privilege waiver where “the timing of the service of [a party’s] privilege log
(while not as soon as could have been) was not unreasonable”). Indeed, Defendants did not produce
their first (patently inadequate) privilege log in this case until after they produced documents to
Plaintiffs, and Defendants still have not produced a proper privilege log despite the Court expressly
ordering them to do so.
IV.      Plaintiffs Produced Document PDDC-JLO-0001207 in the Exact Form It Was Produced
         in the U.K. Aven v. Orbis Litigation; Plaintiffs Did Not Redact Documents for Relevance.
        You next assert in your letter that “Plaintiffs have withheld a document from the UK
Proceedings as ‘Placeholder – Not Relevant,’” citing document PDDC-JLO-0001207. Plaintiffs have
neither withheld nor redacted that document.
        In accordance with the Court’s March 30 Order, Plaintiffs produced document PDDC-JLO-
0001207 in the exact form it was produced in the U.K. Aven v. Orbis proceeding. That document
was produced as “Placeholder – Not Relevant” in the U.K. Aven v. Orbis proceeding; in other words,
the attorneys in that proceeding created the “Placeholder – Not Relevant” document that was
produced in that case, and Plaintiffs have produced that document without modification as PDDC-
JLO-0001207 in this case. In full compliance with the Court’s order in this case, Plaintiffs have
produced the documents that the claimants and the defendants produced in the U.K. Aven v. Orbis
proceeding as well as the documents that were included in the trial bundle in that case. Plaintiffs
did not withhold or redact any documents from these categories on the basis of relevance. In short,
Plaintiffs have produced to Defendants exactly what they requested.17

16
  See generally Letter from T. Clare & J. Oliveri to J. Levy (May 4, 2020).
17
  The only changes made to any of the Aven v. Orbis documents were redactions of personal identifying information or
other sensitive information that was redacted in the U.K. prior to the documents’ transfer to the United States in order
to comply with the applicable data protection laws and regulations. The Bates numbers of those documents are:



                                                            7
       Case 1:17-cv-02041-RJL Document 158-7 Filed 07/08/21 Page 9 of 11




V.     Plaintiffs Have Not Improperly Redacted Documents in Their April 29 Production.
        Finally, you assert in your May 5 letter that Plaintiffs have improperly redacted “a substantial
number of documents for which relevance to this action is beyond dispute,” and in support of your
assertion, you cite four documents: (1) PDDC-JLO-0001264, (2) PDDC-JLO-0008437,
(3) PDDC-JLO-0008472, and (4) PDDC-JLO-0007144. Again, you are incorrect.
       Contrary to your assertion, Plaintiffs have not improperly redacted any documents in their
production. With regard to the specific documents you cite in your letter:
       •   PDDC-JLO-0001264: This document was produced as redacted in the U.K. Aven v. Orbis
           case and Plaintiffs have produced it here exactly as it was produced in that case.
       •   PDDC-JLO-0008437 and PDDC-JLO-0008472: Plaintiffs have only redacted from these
           documents material that is protected from disclosure by the attorney-client privilege
           and/or work-product doctrine. Plaintiffs will list and describe these redactions on their
           forthcoming privilege log.
       •   PDDC-JLO-0007144: Plaintiffs only redacted this document to remove protected
           personally identifiable information in accordance with governing GDPR restrictions and
           protections.
        To ensure compliance with data protection laws, Plaintiffs redacted certain personally
identifiable and sensitive information, including personal email addresses, personal cell phone
numbers, bank account information, passport information, and information related to health from
certain documents (including PDDC-JLO-0007144). The Bates numbers of those documents are
provided in Appendix A to this letter. We would be happy to discuss any issues you have with the
redaction of the personal identifying or sensitive information for any documents listed on
Appendix A.
                                           *       *       *
        We trust that the explanations herein resolve the issues raised in your May 5 letter. As we
explained above, if you have any questions or concerns regarding particular documents in Plaintiffs’
production, please raise those concerns with us and we would be happy to meet and confer and
discuss them with you.




PDDC-JLO-0004250; PDDC-JLO-0004723; PDDC-JLO-0004735; PDDC-JLO-0004743; PDDC-JLO-0004755; PDDC-
JLO-0004779; PDDC-JLO-0005268; PDDC-JLO-0004078; and PDDC-JLO-0004200.



                                                   8
Case 1:17-cv-02041-RJL Document 158-7 Filed 07/08/21 Page 10 of 11
Case 1:17-cv-02041-RJL Document 158-7 Filed 07/08/21 Page 11 of 11




                           Appendix A
            Documents in Plaintiffs’ April 29 Production with
             Personally Identifiable Information Redactions

 PDDC-JLO-0001292       PDDC-JLO-0007291          PDDC-JLO-0007841
 PDDC-JLO-0004078       PDDC-JLO-0007299          PDDC-JLO-0007859
 PDDC-JLO-0004200       PDDC-JLO-0007301          PDDC-JLO-0007860
 PDDC-JLO-0004250       PDDC-JLO-0007319          PDDC-JLO-0007861
 PDDC-JLO-0004723       PDDC-JLO-0007321          PDDC-JLO-0007862
 PDDC-JLO-0004735       PDDC-JLO-0007380          PDDC-JLO-0007863
 PDDC-JLO-0004743       PDDC-JLO-0007381          PDDC-JLO-0007869
 PDDC-JLO-0004755       PDDC-JLO-0007395          PDDC-JLO-0007899
 PDDC-JLO-0004779       PDDC-JLO-0007399          PDDC-JLO-0007903
 PDDC-JLO-0005268       PDDC-JLO-0007408          PDDC-JLO-0007904
 PDDC-JLO-0006835       PDDC-JLO-0007422          PDDC-JLO-0007905
 PDDC-JLO-0006956       PDDC-JLO-0007424          PDDC-JLO-0007935
 PDDC-JLO-0006963       PDDC-JLO-0007439          PDDC-JLO-0007969
 PDDC-JLO-0006981       PDDC-JLO-0007440          PDDC-JLO-0007971
 PDDC-JLO-0006998       PDDC-JLO-0007445          PDDC-JLO-0007973
 PDDC-JLO-0007006       PDDC-JLO-0007517          PDDC-JLO-0007977
 PDDC-JLO-0007041       PDDC-JLO-0007609          PDDC-JLO-0008139
 PDDC-JLO-0007045       PDDC-JLO-0007665          PDDC-JLO-0008159
 PDDC-JLO-0007049       PDDC-JLO-0007672          PDDC-JLO-0008171
 PDDC-JLO-0007057       PDDC-JLO-0007723          PDDC-JLO-0008229
 PDDC-JLO-0007062       PDDC-JLO-0007731          PDDC-JLO-0008245
 PDDC-JLO-0007068       PDDC-JLO-0007740          PDDC-JLO-0008421
 PDDC-JLO-0007074       PDDC-JLO-0007753          PDDC-JLO-0008592
 PDDC-JLO-0007085       PDDC-JLO-0007759          PDDC-JLO-0008600
 PDDC-JLO-0007086       PDDC-JLO-0007768          PDDC-JLO-0008609
 PDDC-JLO-0007088       PDDC-JLO-0007771          PDDC-JLO-0008625
 PDDC-JLO-0007091       PDDC-JLO-0007774          PDDC-JLO-0008642
 PDDC-JLO-0007097       PDDC-JLO-0007783          PDDC-JLO-0008674
 PDDC-JLO-0007099       PDDC-JLO-0007785          PDDC-JLO-0008702
 PDDC-JLO-0007105       PDDC-JLO-0007787          PDDC-JLO-0008704
 PDDC-JLO-0007111       PDDC-JLO-0007789          PDDC-JLO-0008761
 PDDC-JLO-0007140       PDDC-JLO-0007812          PDDC-JLO-0008770
 PDDC-JLO-0007144       PDDC-JLO-0007816          PDDC-JLO-0008973
 PDDC-JLO-0007155       PDDC-JLO-0007822          PDDC-JLO-0009147
 PDDC-JLO-0007194       PDDC-JLO-0007831
 PDDC-JLO-0007195       PDDC-JLO-0007837




                                    10
